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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISCTRICT OF DELAWARE


 R. ALEXADER ACOSTA                                    )
 SECRETARY OF LABOR, UNITED                            )
 STATES DEPARTMENT OF LABOR                            )
                                                       )
        Plaintiff,                                     )      Civil Action No. 17-00354-GMS
                                                       )
 v.                                                    )
                                                       )
 DEVILBISS LANDSACPE                                   )
 ARCHITECTS, INC., a corporation                       )
 d/b/a DEVILBISS LANDSCAPE                             )
 ARCHITECTS, and PAUL DEVILBISS,                       )
                                                       )
        Defendants.                                    )
                                                       )

DEFENDANTS’ REPLY IN SUPPORT OF THEIR MOTION TO DISMISS OR, IN THE
              ALTERNATIVE, FOR SUMMARY JUDGMENT

                                   I.         INTRODUCTION

       Defendants DeVilbiss Landscape Architects, Inc. and Paul DeVilbiss (“DeVilbiss”)

respectfully urge this Court to dismiss Plaintiff’s Complaint or, in the alternative, grant summary

judgment in their favor. Plaintiff’s Complaint does not present enough factual material to plausibly

allege that DeVilbiss Landscape Architect’s employees performed any non-overtime exempt work.

DeVilbiss is therefore entitled to entry of judgment as a matter of law.

                                        II.    ARGUMENT

       A.      Overview.

       DOL’s Complaint should be dismissed. There is no dispute that DeVilbiss cultivates,

grows, and harvest horticultural commodities. See 29 U.S.C. § 203(f). Because the Fair Labor

Standards Act exempts all agricultural businesses for paying overtime, DOL’s complaint seeking




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unpaid overtime fails to state a claim upon which relief may be granted. See 29 U.S.C. §§

213(b)(12); 207(a).

        Faced with this reality, DOL resorts to selective quotes and tendentious paraphrasing in an

attempt to manufacture a case out of nothing. DOL’s argument is that DeVilbiss’ workers may

have touched an immature horticultural product grown originally by another grower. DOL asserts

that this alleged fact alone strips DeVilbiss of its exemption from overtime. What DOL never tells

the Court clearly is that the ‘rule’ it cites applies only to packing houses and storage facilities and

DOL itself never alleges (nor could it) that DeVilbiss is a packing house or a storage facility. After

an eleven-month investigation, DOL brought a federal case based on a legal theory that is facially

inapplicable to DeVilbiss. This case should be dismissed without further ado.

        B.       Plaintiff Misstates The Law Concerning The Agricultural Exemption From
                 The Payment Of Overtime.

        DOL has no case against DeVilbiss based on the law as it stands. DeVilbiss unquestionably

cultivates, grows, and harvests horticultural commodities. So, citing 29 C.F.R. § 780.209, DOL

argues that DeVilbiss must pay overtime because it buys immature plants from other sources rather

than raising them from seed. DOL’s argument flies in the face of almost 80 years’ worth of judicial

and administrative interpretation of what qualifies as “agriculture” under § 203(f) of the Fair Labor

Standards Act.1

        The definition of agriculture under the FLSA is broad, not narrow as DOL states. See

Opposition, p. 1; see also Reich v. Tiller Helicopter Servs., 8 F.3d 1018, 1024 (5th Cir. 1993).

Senator (later Justice) Black explained that the FLSA “specifically excludes workers in agriculture

of all kinds and of all types. There is contained in the measure, perhaps, the most comprehensive


        1
                  See Sandifer v. U.S. Steel Corp., 134 S. Ct. 870, 879 n. 7 (2014) ((“[I]n Christopher v. SmithKline
Beecham Corp., 567 U.S. ___, ___-___, n. 21, 132 S. Ct. 2156 n.21 (2012), we declared the narrow-construction
principle inapplicable to a provision appearing in §203, entitled ‘Definitions.’”)


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definition of agriculture which has been included in any one legislative proposal.” Id., quoting 81

Cong. Rec. 7648 (1937) (Statement of Sen. Black). From the immediate aftermath of the FLSA’s

passage to the present, courts have recognized how expansive the definition of “agriculture” is.

See Addison v. Holly Hill Fruit Prods., Inc., 322 U.S. 607, 612 (1944) (“Congress provided for

eleven exemptions from the controlling provisions relating to minimum wages or maximum hours

of the Fair Labor Standards Act. Employment in agriculture is probably the most far-reaching

exemption.”); Maneja v. Waialua Agric. Co., 349 U.S. 254, 260 (1955) (“The exemption was

meant to embrace the whole field of agriculture, and sponsors of the legislation so stated, 81 Cong.

Rec. 7648, 7658. This Court also has had occasion to comment on its broad coverage.”); Barks v.

Silver Bait, LLC, 802 F.3d 856, 860 (6th Cir. 2015) (“Among the exempt are ‘employee[s]

employed in agriculture.’ 29 U.S.C. § 213(b)(12). This exemption ‘embrace[s] the whole field of

agriculture.’”); Reich, 8 F.3d at 1025-26 (detailing legislative history); Peacock v. Lubbock

Compress Co., 252 F.2d 892, 893 (5th Cir. 1958) (“The great concern of Congress was to exempt

agriculture as such from the Act.”). The narrow definition DOL postulates finds no support in

nearly 80 years of FLSA jurisprudence. The degree of DOL’s misstatement reflects DOL’s

awareness that it has failed to state a claim under the law as it stands today.

        DOL’s misstatements are all the more glaring because they ignore DOL’s own

interpretations of the applicable definition. 2 Rather than being “narrow,” DOL’s non-litigation

position is that the definition of “agriculture” is “very comprehensive.” See 29 C.F.R. § 780.105(a).


2
         See Barks v. Silver Bait, LLC, 802 F.3d 856, 861 (6th Cir. 2015) (“[T]he Department's views were published
in interpretive bulletins authored by the Administrator of the Wage and Hour Division, who expressly declined to
exercise the Department's rulemaking authority.”) As DOL states in 29 C.F.R. § 780.0:

        It is the purpose of the interpretative bulletins in this part to provide an official statement of the
        views of the Department of Labor with respect to the application and meaning of the provisions of
        the Fair Labor Standards Act of 1938, as amended, which exempt certain employees from the
        minimum wage or overtime pay requirements, or both, when employed in agriculture or in certain
        related activities or in certain operations with respect to agricultural or horticultural commodities.


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The scope of “[t]he language ‘farming in all its branches’ includes all activities, . . ., which

constitute farming or a branch thereof under the facts and circumstances.” See 29 C.F.R. § 780.107.

Thus, all authorities – Congress, the courts, and DOL’s own interpretations outside of this case –

establish that the definition of “agriculture” in the FLSA is broad and “very comprehensive.”

DOL’s attempt to suggest otherwise simply highlights the weakness of its case.

       In addition to the claim that the definition of “agriculture” is narrow, DOL proffers 29

C.F.R. § 780.209 to support its case. This is the only authority DOL offers and it is patently

inapplicable. Section 780.209 states:

       Employees of a grower of nursery stock who work in packing and storage sheds
       sorting the stock, grading and trimming it, racking it in bins, and packing it for
       shipment are employed in “agriculture” provided they handle only products grown
       by their employer and their activities constitute an established part of their
       employer's agricultural activities and are subordinate to his farming operations.
       Such employees are not employed in agriculture when they handle the products of
       other growers (Mitchell v. Huntsville Nurseries, 267 F. 2d 286; Jordan v. Stark
       Bros. Nurseries & Orchards Co., 45 F. Supp. 769).

       Agricultural activities would typically include employees engaged in the balling
       and storing of shrubs and trees grown in the nursery. Where a grower of nursery
       stock operates, as a separate enterprise, a processing establishment or an
       establishment for the wholesale of retail distribution of such commodities, the
       employees in such separate enterprise are not engaged in agriculture (see Walling
       v. Rocklin, 132 F.2d 3; Mitchell v. Huntsville Nurseries, 267 F.2d 286).

       Although the handling and the sale of nursery commodities by the grower at or near
       the place where they were grown may be incidental to his farming operations, the
       character of these operations changes when they are performed in an establishment
       set up as a marketing point to aid the distribution of those products. (Breaks added
       for readability).

By its own terms, § 780.209 and its “handle only products grown by their employer” standard

apply ONLY to “[e]mployees of a grower of nursery stock who work in packing and storage sheds

sorting the stock, grading and trimming it, racking it in bins, and packing it for shipment[.]” There

is no allegation that DeVilbiss’ employees “work in packing and storage sheds sorting the stock,




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grading and trimming it, racking it in bins, and packing it for shipment.” The photos attached to

the Luk Declaration3 show nothing of the kind, and the DeVilbiss Declaration establishes that they

most certainly do not work in “packing and storage sheds.” The “handle only products grown by

their own employer” caveat does not apply to DeVilbiss.

          The remainder of § 780.209 further negates any applicability to DeVilbiss. Section 780.209

states:

          Where a grower of nursery stock operates, as a separate enterprise, a processing
          establishment or an establishment for the wholesale of retail distribution of such
          commodities, the employees in such separate enterprise are not engaged in
          agriculture (see Walling v. Rocklin, 132 F.2d 3; Mitchell v. Huntsville Nurseries,
          267 F.2d 286).

This principle is inapplicable here. There is no allegation either in the Complaint or in the Luk

Declaration that DeVilbiss “operates” a “processing establishment or an establishment for the

wholesale of retail distribution” of horticultural commodities. Id. Nor even if some such

establishment existed, DOL does not allege that it is a “separate enterprise” from DeVilbiss. It is

important to remember that DOL’s investigation began 11 months before it filed its lawsuit; if any

facts supporting its theory, DOL would definitely have alleged them. The reason DOL did not

make these allegations is because there are no facts to support them.

          The last part of § 780.209 also undermines DOL’s case. It states:

          Although the handling and the sale of nursery commodities by the grower at or near
          the place where they were grown may be incidental to his farming operations, the
          character of these operations changes when they are performed in an establishment
          set up as a marketing point to aid the distribution of those products.




          3
                 Rule 56(c)(4) requires that Affidavits presented in opposition to summary judgment motions “must
be based on personal knowledge.” To the extent that the Luk Declaration relies on hearsay, it cannot be considered
by the Court.



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This part of the interpretation strongly supports DeVilbiss’ motion to dismiss. A worker’s handling

of nursery commodities by the grower at or near the worksite is incidental to the growing operation.

Their character changes only “when they are performed in an establishment set up as a marketing

point to aid the distribution of those products.” There is no allegation to this effect. DOL’s only

‘authority’ for its theory of the case thoroughly rebuts DOL’s current litigation position. 4

         Thus, the state of the law for determining whether DeVilbiss’ activities as “agriculture” is

that businesses cultivating, growing, and harvesting horticultural commodities are “agriculture.”

DOL’s Complaint and its Opposition concede that DeVilbiss Landscape is a landscape design

company that “handles” and “works on plants, trees, mulch and landscaping materials.” These are

activities that fall within the definition of agriculture and therefore § 213(b)(12). The Complaint

and Opposition do not establish, or even contend, that the character of all DeVilbiss’ activities are

non-agricultural and so they only contend that some incidental activities are outside the definition.

But this definition is comprehensive; the FLSA specifically excludes workers in agriculture of all

kinds and of all types from its overtime obligation. DOL’s allegations are insufficient to state a

claim.

         C.      DeVilbiss’ Employees Performed Agricultural Work Under 29 U.S.C. § 203(f).

         Lacking a substantive basis for the Complaint, DOL offers some procedural arguments

instead. One is that it does not have to negate the applicability of § 212(b)(12). However, as part

of its cause of action, DOL must prove that DeVilbiss’ workers performed more than 40 hours of

non-exempt work in each workweek from April 2014 through the present. See Adkins v. Mid-Am.

Growers, Inc., 167 F.3d 355, 359 (7th Cir. 1999), citing Anderson v. Mt. Clemens Pottery Co., 328



         4
                   DOL does cite Mitchell v. Huntsville Nurseries, 267 F. 2d 286 (5th Cir. 1959). Because § 780.209
relies on Mitchell, DOL’s reference adds nothing to § 780.209.



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U.S. 680, 686-67 (1946). If not, DOL has failed to state a claim. DOL itself recognized this burden;

that is why DOL affirmatively pleaded that the workers’ activities were not agricultural. Similarly,

the principle that DOL need not negate an exemption is inapplicable here. The FLSA distinguishes

between “definitions” (§ 203) and “exemptions” (§ 213). See Sandifer, 134 S. Ct. at 879 n. 7.

DOL’s allegations that DeVilbiss’ workers’ activities were not within the definition of

“agriculture” relate to a definition that is a part of its prima facie case, not directly to the

applicability of an exemption. Finally, even if DeVilbiss could not have forced DOL to defend an

exemption per se, DOL cannot be heard to complain now that DeVilbiss has shown that DeVilbiss

operates in “agriculture” when DOL voluntarily injected the issue in the Complaint.

       DOL’s first claim is that handling a non-agricultural product is by itself sufficient to negate

the exemption. However, as DOL acknowledges in its Opposition, p. 17, merely handling a non-

agricultural product is insufficient to take a worker’s activities outside of “agriculture” and defeat

the exemption. See Donovan v. Marrero, 695 F. 2d 791, 796 (3d Cir. 1982).

       DOL’s second claim is that handling other growers’ products categorically renders a

particular worker’s activities non-agricultural. That is not the law. See Section III.B, supra.

Because DOL entirely relies on these propositions to support its claim that DeVilbiss employees

performed non-exempt work, DOL has failed to state a claim upon which relief can be granted for

unpaid overtime premiums under the FLSA.

       D.      DeVilbiss Complied With DOL’s Recordkeeping Requirements.

       DOL alleged that DeVilbiss violated two of its recordkeeping regulations. See Complaint,

¶ 7. The first relates to straight time pay under 29 C.F.R. § 516.2(a)(8). The second relates to

overtime earnings under 29 C.F.R. § 516.2(a)(9).




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         The Luk Declaration admits that DeVilbiss recorded straight time hours correctly. See

Declaration of Rowena Luk, ¶ 4. The Court should therefore dismiss DOL’s claim based on §

516.2(a)(8).

         DOL also failed to state a claim as to DeVilbiss’ recording of overtime earnings. Section

516.2(a)(9) requires employers to record “with respect to each employee to whom . . . both sections

6 and 7(a)5 of the Act apply” the employee’s “total overtime earnings.” There is no dispute that

DeVilbiss accurately recorded each employee’s overtime earnings. It would have been inaccurate

to record as paid the overtime earnings that DOL now thinks is “due,” but unpaid. Whatever §

516.2(a)(9) requires it can be safely said that the section does not require an employer to falsify its

payroll records.

         Moreover, DOL’s interpretation of § 516.2 renders that section simply a bootstrap claim.

Under DOL’s approach, if a company should have paid overtime wages, that failure constitutes a

recordkeeping violation even where, as in this case, it is undisputed that the company’s records

are accurate and complete.

         E.       The Court May Grant Summary Judgment.

         DOL argues that the Court may not consider DeVilbiss’ alternative motion for summary

judgment without rigorous adherence to the notification procedure provided in Federal Rule of

Civil Procedure 12(d). When considering a decision to convert a Rule 12 motion into a motion for

summary judgment, the Third Circuit reviews three questions. The first is whether the district court

considered materials outside the complaint. See In re Rockefeller Ctr. Props. Sec. Litig., 184 F.3d

280, 287 (3d Cir. 1999). The concern raised in this question is whether DOL may not have notice


         5
                 Section 7(a) refers to 29 U.S.C. § 207(a) is the section that imposes the general obligation to pay an
overtime premium under the FLSA. Section 7(a) does not apply to any employee who works “agriculture” as defined
by 29 U.S.C. § 203(f).



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of DeVilbiss’ operation and therefore find itself surprised. Id. The second question is “whether the

parties had adequate notice of the district court's intention to convert.” Id. Finally, the third

question is “if the parties did not have notice, whether the court's failure to provide notice was

harmless error.” Id. The rationale for these rules is to avoid prejudicial surprise. Id.

       DOL has had a full and adequate opportunity to gather information and present in

opposition to Defendants’ motion. DOL knew whether DeVilbiss’ activities fell into the FLSA’s

definition of “agriculture” was an issue and tried to anticipate it. DOL investigated DeVilbiss for

at least 11 months before filing its lawsuit. DOL had enough time to gather materials in response

to DeVilbiss’ summary judgment materials and presumably submitted everything it thought

necessary to try to create a genuine issue of material fact. Indeed, DOL sought, and was granted,

an enlargement of time to file its opposition. DOL was given, and took advantage of, a full and

fair opportunity to present whatever factual material it chose. DOL would not be prejudiced in the

least if the Court treated DeVilbiss’ motion as one for summary judgment.

       Moreover, the lack of formal discovery at this stage of this litigation should not give the

Court pause as it decides whether to treat this motion as one for summary judgment. DOL did not

invoke the procedure of Fed. R. Civ. P. 56(e) or otherwise indicate that it needed further discovery.

If DOL desired discovery, it should have followed the proper procedure:

       This court has interpreted Rule 56(f) as imposing a requirement that a party seeking
       further discovery in response to a summary judgment motion submit an affidavit
       specifying, for example, what particular information is sought; how, if uncovered,
       it would preclude summary judgment; and why it has not previously been obtained.

Dowling v. Philadelphia, 855 F.2d 136, 139-40 (3d Cir. 1988). DOL does cite or rely on this

requirement, indicating that its 11-month investigation provided DOL enough facts (in its opinion)

to oppose summary judgment. That is why DOL did not oppose summary judgment on the ground

that it desired to conduct discovery first.



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                                       III.   CONCLUSION

          Because DeVilbiss grows, cultivates, and harvests horticultural commodities, its activities

qualify as “agriculture” under 29 U.S.C. § 203(f).     Because DeVilbiss’ workers are employed in

“agriculture,” DeVilbiss does not have to pay them an overtime premium. DeVilbiss was required

to, and did, record its workers’ straight time hours properly. DeVilbiss was required to, and did,

record its workers’ overtime earnings accurately.

          For the foregoing reasons and such others as may appear to the Court, the Complaint should

be dismissed or, in the alternative, the Court should grant summary judgment in DeVilbiss’ favor.


Dated: July 24, 2017
                                                /s/ Frank E. Noyes, II
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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

  _________________________________________
  EDWARD C. HUGLER, ACTING                  )
  SECRETARY OF LABOR, UNITED                )
  STATES DEPARTMENT OF LABOR                )
                                            )
         Plaintiff,                         ) Civil Action No. 17-00354-GMS
                                            )
  DEVILBISS LANDSACPE                       )
  ARCHITECTS, INC., a corporation           )
  d/b/a DEVILBISS LANDSCAPE                 )
  ARCHITECTS, and PAUL DEVILBISS            )
                                            )
         Defendants                         )
                                            )

                                 CERTIFICATE OF SERVICE

         I, Frank E. Noyes, II, Esquire, hereby certify that on the date set forth below I served a

  true and correct copy of the Reply in Support of Defendants’ Motion to Dismiss, or in the

  Alternative, for Summary Judgment by e-mail only on the below listed counsel.

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  Dated: July 24, 2017
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